                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT WINCHESTER


 UNITED STATES OF AMERICA                            )
                                                     )       Case No. 4:10-cr-30
 v.                                                  )
                                                     )       MATTICE / LEE
 TITUS SULLIVAN                                      )
                                                     )

                                            ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the fourteen-count

 Indictment; (2) accept Defendant’s plea of guilty to Count One; (3) adjudicate Defendant guilty of

 the charges in Count One of the Indictment; (4) defer a decision on whether to accept the plea

 agreement until sentencing; and (5) allow Defendant to remain on bond until sentencing in this

 matter [Doc. 342]. Neither party filed a timely objection to the report and recommendation. After

 reviewing the record, the Court agrees with the magistrate judge’s report and recommendation.

 Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s report and recommendation

 [Doc. 342] pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

        (1)     Defendant’s motion to withdraw his not guilty plea to Count One of the Indictment

                is GRANTED;

        (2)     Defendant’s plea of guilty to the charges in Count One is ACCEPTED;

        (3)     Defendant is hereby ADJUDGED guilty of the charges in Count One;

        (4)     A decision on whether to accept the plea agreement is DEFERRED until sentencing;

                and

        (5)     Defendant SHALL REMAIN on bond pending sentencing in this matter which is



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            scheduled to take place on Monday, April 25, 2011 at 2:00 p.m. before the

            Honorable Harry S. Mattice, Jr.

       SO ORDERED.

       ENTER:


                                                       /s/Harry S. Mattice, Jr.
                                                       HARRY S. MATTICE, JR.
                                                  UNITED STATES DISTRICT JUDGE




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